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8                         UNITED STATES DISTRICT COURT
9                      EASTERN DISTRICT OF CALIFORNIA
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11   TIMOTHY C. NELSON,               NO. 2:05-cv-1193-MCE-KJM
12             Plaintiff,
13        v.                          MEMORANDUM AND ORDER
14   CITY OF DAVIS; JAMES HYDE,
     individually and in his
15   official capacity as Chief
     of Police for the CITY OF
16   DAVIS; CALVIN HANDY,
     SERGEANT MICHAEL MASON,
17   OFFICER JAVIER BARRAGAN,
     OFFICER BRANDON JONES,
18   OFFICER CALVIN CHANG,
     OFFICER M. GARCIA,
19   individually and
     DOES 1-100, inclusive,
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               Defendants.
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24        The Court scheduled a Status Conference in this matter on
25   August 27, 2009 and requested that the parties submit statements
26   beforehand concerning the further handling of this matter, given
27   the Ninth Circuit’s remand for further proceedings as set forth
28   in its Opinion filed July 7, 2009.

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1    Upon review of the parties’ statements, the Court believes that
2    an opportunity should be afforded for further dispositive
3    motions, taking specifically into account the limitations imposed
4    by the Ninth Circuit’s ruling.     Motions comporting with those
5    requirements must be filed not later than Friday, October 23,
6    2009.   Additional dates will be scheduled as necessary once
7    further dispositive motions have been adjudicated.
8         Given this Order, the Status Conference set for August 27,
9    2009 is hereby vacated.
10        IT IS SO ORDERED.
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     Dated: August 27, 2009
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13                                    _____________________________
14                                    MORRISON C. ENGLAND, JR.
                                      UNITED STATES DISTRICT JUDGE
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